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 7                                    UNITED STATES DISTRICT COURT

 8                                         DISTRICT OF NEVADA

 9

10 UNITED STATES OF AMERICA,                             CASE NO. 2:12-cr-268-JAD-CWH

11                       Plaintiff,                      STIPULATION AND [PROPOSED]
                                                         ORDER FOR YOUNG HIE CHOI TO
12              vs.                                      STAY IN PRESCOTT, ARIZONA FOR
                                                         TWO CONSECUTIVE NIGHTS EACH
13 YOUNG HIE CHOI, a.k.a. Lianyi Li,                     WEEK OF THE MONTH OF JUNE 2015
   PAUL CHOI, a.k.a. Chunai Li,
14 JIN HO SONG, a.k.a. Chenghua Song, a.k.a.
   Aihua Shen, a.k.a. Songai Li,
15 IN SEON SEONG, a.k.a. Hong Shan Jin,
   JONG YUN LEE, a.k.a. Hong Chang, a.k.a.
16 Hong Yu Jin, and
   MYOUNG SOOK SONG, a.k.a. Chun Yu Jin,
17
                 Defendants.
18

19

20             IT IS HEREBY STIPULATED AND AGREED by and between the United States of
21 America, by and through Assistant United States Attorney Kimberly Frayn of the United States

22 Attorney’s Office for the District of Nevada, and defendant Young Hie Choi (“Ms. Choi”), by and

23 through Kathleen Bliss and Russell J. Burke, of the law firm Lewis Brisbois Bisgaard & Smith

24 LLP, (collectively, the “Parties”) that:

25        1. Ms. Choi is currently allowed to stay in Prescott, Arizona one night per week for business
26             purposes, (see ECF No. 81, Order);
27        2. The Parties have agreed that, for the month of June only, Ms. Choi may stay two
28             consecutive nights each week in Prescott, Arizona each for the purposes of maintaining


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 1             proper standards at her business in Prescott, Arizona;

 2        3. Ms. Choi will notify Pretrial Services prior to leaving for Prescott, Arizona for her two

 3             consecutive night stay;

 4        4. Specifically, Ms. Choi may stay in Prescott, Arizona the following consecutive nights:

 5                  a. Tuesday, June 9, 2015, through Thursday, June 11, 2015;

 6                  b. Tuesday, June 16, 2015, through Thursday, June 18, 2015;

 7                  c. Tuesday, June 23, 2015, through Thursday, June 25, 2015; and

 8        5. All remaining conditions of pretrial release remain in place;

 9 This Stipulation is made in good faith and not for the purposes of delay.

10
      DATED: June 8, 2015.
11
                                                  By: /s/ Kathleen Bliss
12
                                                      KATHLEEN BLISS
13                                                    Attorney for Young Hie Choi

14                                                By: /s/ Kimberly Frayn
                                                      KIMERBERLY FRAYN
15                                                    Attorney for the government
16
                         IT IS HEREBY ORDERED that Ms. Choi may stay two consecutive nights each
17
      week in Prescott, Arizona for the month of June 2015 in accordance with the schedule presented in
18
      the Stipulation..
19
                         IT IS FURTHER ORDERED that all of Ms. Choi’s remaining pretrial release
20
      conditions remain in effect.
21

22
               Dated: June 8, 2015.
               DATED this ____ day of __________, 2015.
23
                                                             ________________________
24                                                           United States District Judge
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26

27

28


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